   Case 1:21-cv-04446-LB Document 20 Filed 08/01/22 Page 1 of 2 PageID #: 77




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                                             August 1, 2022
BY ECF

Hon. Lois Bloom, U.S.M.J.
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                         Re:     Small v. Granowitter
                                 21 Civ. 4446 (EK)(LB)

Dear Judge Bloom:

        Along with TakeRoot Justice, I represent Marslyn Small, Plaintiff in the above-referenced
matter. I write on behalf of Plaintiff to report on the status of the case. Plaintiff has not received the
documentation she has been trying to obtain to finalize the settlement.

       Plaintiff hereby requests an additional thirty (30) days and to submit a status report to the
Court, or by August 31, 2022, if the Parties are not able to submit the settlement agreement for
Court approval by that date. I was not able to reach counsel for Defendant today to confirm they
wanted to file this request jointly.

                                                                  Respectfully submitted,

                                                                           /s/

                                                                  Margaret McIntyre

                                                                  S. Tito Sinha, Esq.
                                                                  TakeRoot Justice
                                                                  123 William Street, Floor 16
                                                                  New York, NY 10038
                                                                  (646) 923-8315

                                                                  Attorneys for Plaintiff

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      Case 1:21-cv-04446-LB Document 20 Filed 08/01/22 Page 2 of 2 PageID #: 78



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cc:      Regina E. Faul, Esq.
         Laura E. Longobardi, Esq.
         Phillips Nizer LLP
         Attorneys for Defendant




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